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                              UNITED STATES DISTRICT COURT
                            FOR NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,

COMMONWEALTH OF
MASSACHUSETTS,

and
                                                            No. 20 C 2658
STATE OF WISCONSIN,
                                                            Judge Feinerman
                          Plaintiffs,

v.

DAIRY FARMERS OF AMERICA, INC.

and

DEAN FOODS COMPANY,

                          Defendants.



                                        JOINT STATUS REPORT

           The parties submit this joint status report in response to the Court’s June 5, 2020, Minute

Order (Docket No. 21) relating to when the United States will file a motion for entry of the

proposed Final Judgment.

      I.      INTRODUCTION AND BACKGROUND

           On May 1, 2020, the United States, the Commonwealth of Massachusetts, and the State

of Wisconsin (collectively, “Plaintiffs”) filed a Complaint (Docket No. 1) alleging that Dairy

Farmers of America’s (“DFA”) acquisition of Dean Food Company’s (“Dean”) fluid milk

processing plants would further consolidate the highly concentrated fluid milk markets in (1)

northeastern Illinois and Wisconsin and (2) New England. If allowed to proceed, the Complaint
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further alleges, the likely result of Defendants’ transaction would be to substantially lessen

competition for the processing and sale of fluid milk in violation of Section 7 of the Clayton Act,

15 U.S.C. § 18.

         At the same time that Plaintiffs filed the Complaint, Plaintiffs also filed an Asset

Preservation and Hold Separate Stipulation and Order (Docket No. 4-1) and a proposed Final

Judgment (Docket No. 4-2), which are designed to remedy the anticompetitive effects identified

in the Complaint. Defendants consented to entry of the proposed Final Judgment without trial or

adjudication of any issue of fact or law and without the Final Judgment constituting any evidence

against or admission by a party regarding any issue of fact or law.

         The proposed Final Judgment requires the divestiture of three dairy processing plants and

related assets identified in the proposed Final Judgment. The Court appointed Jerry Sturgill as

Divestiture Trustee on July 24, 2020 (Docket No. 37). Since his appointment, Mr. Sturgill has

been marketing the Divestiture Assets.

   II.      THE PARTIES HAVE MET THE APPA’S NOTICE REQUIREMENTS

         Entry of the proposed Final Judgment is subject to the requirements of the Antitrust

Penalties and Procedure Act, 15 U.S.C. § 16(b)–(h) (the “APPA”), which governs the settlement

of antitrust claims by the United States. The APPA, also known as the Tunney Act, requires that

the United States publish the proposed Final Judgment and a Competitive Impact Statement to

facilitate public comment.

         The United States filed the Competitive Impact Statement with this Court on May 26,

2020 (Docket No. 16). The United States then published notice of the proposed Final Judgment

in the Federal Register on June 2, 2020, to inform members of the public of a 60-day comment

period during which they may submit comments about the proposed Final Judgment to the




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United States Department of Justice, Antitrust Division. See 15 U.S.C. § 16(b)–(c); 85 Fed. Reg.

33,712 (June 2, 2020). Similarly, the United States facilitated the publication of newspaper

notices informing members of the public of the proposed Final Judgment in the Washington

Post, Chicago Tribune, and Boston Globe on June 1–4 and June 8–10, 2020.

          DFA and Dean have also completed their obligations, submitting their Section 16(g)

reports to the Court on August 4, 2020 (Docket No. 38). After the United States responds to

public comments, certifies its compliance with the Tunney Act, and moves to enter the proposed

Final Judgment, the Court can enter the proposed Final Judgment without a hearing. See United

States v. U.S. Airways, 38 F. Supp. 3d 69, 76 (D.D.C. 2014) (“A court can make its public

interest determination based on the competitive impact statement and response to public

comments alone.”) (citing United States v. Enova Corp., 107 F. Supp. 2d 10, 17 (D.D.C. 2000)).

   III.      THE APPA COMMENT PERIOD HAS CONCLUDED

          The period for the public to submit comments ended on August 10, 2020. After a

reasonable period of time has passed to ensure receipt of any comments sent by mail to the

Antitrust Division’s published address, the United States will complete its review of any public

comments it receives.

   IV.       THE UNITED STATES IS CURRENTLY REVIEWING COMMENT(S)

          To date, the United States has received one comment. The United States will consider all

comments it receives, including any that may have been sent by the deadline for comments, but

have not yet arrived at the offices of the Antitrust Division, and will publish all comments it

receives as well as the responses of the United States, in the Federal Register, or alternatively,

upon leave of the Court, on the U.S. Department of Justice, Antitrust Division’s website.




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   V.      THE UNITED STATES IS LIKELY TO MAKE A MOTION IN SEPTEMBER
           RELATING TO THE PROPOSED FINAL JUDGMENT

        As the period for the public to submit comments has only just closed, it is still uncertain

exactly how many comments the United States will receive and what the comments will say.

Subject to the comments that it receives, the United States expects that it will move this Court to

enter the proposed Final Judgment by the end of September 2020. If the United States

determines that it will not be able to file such a motion by the end of September, it will notify the

Court and advise as to a new projected date for filing.



Dated: August 11, 2020



                                                      Respectfully submitted,

                                                              /s/ Karl D. Knutsen
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                               CERTIFICATE OF SERVICE

I, Karl D. Knutsen, hereby certify that on August 11, 2020, I caused a copy of the foregoing
Joint Status Report to be served on Defendants by mailing the document electronically to
their duly authorized legal representatives as follows:

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